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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

CODY SCHONES and LEO CALVILLO,                   §
On Behalf of Themselves and All Others           §
Similarly Situated,                              §
                                                 §
       Plaintiffs,                               §
                                                 §
V.                                               §   CIVIL ACTION NO. 5:16-cv-00483-FB
                                                 §
BIG T ENERGY SERVICES, LLC, and                  §
APACHE CORPORATION,                              §
                                                 §
       Defendants.                               §

                          ATTORNEY FARSHEED FOZOUNI’S
                         MOTION TO WITHDRAW AS COUNSEL

       Farsheed Fozouni files this Unopposed Motion to Withdraw as counsel for Plaintiffs

Cody Schones, Leo Calvillo, and all opt-in Plaintiffs (“Plaintiffs”). Farsheed Fozouni is changing

firms effective March 2, 2018 and will no longer represent any Plaintiffs in this matter. Allen R.

Vaught and Melinda Arbuckle with Baron & Budd, P.C. will continue to represent the Plaintiffs.




                                                                 Farsheed Fozouni’s Unopposed
                                                        Motion to Withdraw as Counsel – Page 1
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                                                   Respectfully submitted,

                                                   By:    s/Farsheed Fozouni
                                                          Allen R. Vaught
                                                          State Bar No. 24004966
                                                          Melinda Arbuckle
                                                          State Bar No. 24080773
                                                          Farsheed Fozouni
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                                                   ATTORNEYS FOR PLAINTIFF

                               CERTIFICATE OF SERVICE

       On March 1, 2018 I electronically submitted the foregoing document with the clerk of
court for the U.S. District Court, Northern District of Texas, using the electronic case filing
system of the Court. I hereby certify that I have served all Counsel of record electronically.


                                                   s/Farsheed Fozouni
                                                   Farsheed Fozouni




                                                               Farsheed Fozouni’s Unopposed
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